
*1355OPINION.
Littleton:
The undisputed testimony of the witnesses is that all the company’s assets were sold in August, 1920, at which time it was known that all it could possibly receive for such assets was $5,000 and that prior to December 12, 1920, the $5,000 was applied by the purchaser of its assets to the payment of liabilities, so that prior to December 12, 1920, it was definitely and clearly known that the company had no assets and would not receive anything from the purchaser. The Luster Machinery Co. was, therefore, prior to December 12, 1920, a completely liquidated company wholly without assets. The stock owned by the petitioner was worthless at the end of 1920 and the cost of $30,000 thereof to the petitioner was a proper deduction by him from his gross income for the year 1920.
Judgment will be entered on 10 days’ notice, wider Rule 50.
